                         UNITED STATES COURT OF APPEALS

                              FOR THE FOURTH CIRCUIT
                                                                     FILED
                                                               January 31, 2006



                                    No. 06-276
                                        3:00-cr-00222-2


In Re: TERRY EUGENE CURETON

               Movant



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                                    O R D E R
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             Movant has filed a motion pursuant to 28 U.S.C. Section 2244

        for authorization to file a successive application for relief.

             The Court denies the motion.

             Entered at the direction of Judge Williams with the

        concurrence of Judge Michael and Judge Traxler.


                                        For the Court,


                                        /s/ Patricia S. Connor
                                        ______________________
                                                  CLERK




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